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Terms of Use
Last Modified: September 16, 2016

These Terms of Use (these “Terms”) govern your access to and the use of TopstepTrader, LLC
(“TopstepTrader”, “we”, “our” or “us”) Sites or Services, however accessed, including any content,
functionality, products and services, information about our products and services, your accounts, and other
tools o ered. All capitalized terms not otherwise defined herein shall have the meanings set forth in the
Privacy Policy which is incorporated herein by reference.

By using our Sites or Services, whether by accessing, creating an account, posting or downloading
content or otherwise, you accept and agree to be bound by these Terms. If you do not agree to these
Terms, please do not use our Sites or Services. Please read these Terms carefully and make sure that you
understand them. These Terms are in addition to any other agreements between you and TopstepTrader,
including our Privacy Policy, which can be found at http://www.topsteptrader.com/privacy-policy.

We reserve the right to modify or change these Terms a er providing notice to you. The form of such notice is
at our discretion. Any modification or change shall be e ective upon such notice. You agree to be bound by
any changes to these Terms when you use our Sites or Services a er receipt of such notice, or you shall
discontinue your use of our Sites or Services. Please check these Terms regularly for changes.

1. Contact Information

If you have any questions or comments or seek any additional information on TopstepTrader, please email
support@topsteptrader.com. You may also call us at (888) 407-1611 or write to us at:

TopstepTrader, LLC
130 S. Je erson St., Suite 200
Chicago, Illinois 60661

We operate the following website: www.topsteptrader.com

2. Eligibility

You represent and warrant that you are at least 18 years of age. In jurisdictions, territories and locations where
the minimum age for permissible use of the Sites or Services is greater than 18 years of age, you represent
and warrant that you meet the age requirement for the minimum age for permissible use of the Sites or
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Services. If you are under the minimum age for permissible use of the Sites or Services in your jurisdiction,
territory or location, you may not utilize the Sites or Services.

You represent and warrant that you have not been convicted of a felony, disciplined by the National Futures
Association or disciplined by the U.S. Commodity Futures Trading Commission. You represent and warrant
that you do not have an outstanding balance with a trading firm. If you are a convicted felon, have been
disciplined by the National Futures Association, have been disciplined by the U.S. Commodity Futures
Trading Commission, or have an outstanding balance with a trading firm, you are not eligible to use the Sites
or Services.

You are solely responsible for ensuring that these Terms are in compliance with all laws, rules and regulations
applicable to you. The right to access the Sites or Services is revoked where these Terms or use of the Sites or
Services are prohibited or to the extent o ering, sale or provision of the Sites or Services conflicts with any
applicable law, rule or regulation. The Sites or Services are o ered only for your use, and not for the use or
benefit of any third party.

3. Not a Broker-Dealer

You acknowledge and agree that we are not a broker-dealer, as such term is used in United States financial
services regulations, and that we do not trade securities on our or another party’s behalf as part of the Sites or
Services, nor do we directly o er any financial advice of our own as part of the Sites or Services. You
acknowledge and agree that we are not liable for any losses or gains that may arise from your reliance upon
information provided through the Sites or Services or your interaction with other Users.

4. Reliance on Information Shown on our Sites or Services

The information presented on or through TopstepTrader Sites or Services includes financial and market
information. Such information is made available solely for entertainment and general information purposes.
We do not warrant the accuracy, completeness, timeliness or usefulness of such information and such
information has not been verified. Any reliance you place on such information is strictly at your own risk. We
do not invite that any action be taken upon the information we provide. We disclaim all liability and
responsibility arising from any reliance placed on such materials by you or any other visitor to our Sites or
Services, or by anyone who may be informed of any of its contents.

The information presented has been prepared without regard to individual investment objectives, financial
situations or means. Such information is not intended to constitute investment advice and is not designed to
meet your personal financial situation. Many of the investments described on or through our Sites or Services
involve significant risks, and any discussion of risks contained on the Sites or Services should not be
considered a complete discussion of risks involved. We recommend that you consult with your financial
advisers about investment options and whether any investment may be appropriate for your specific needs
prior to making any investments. You acknowledge and agree that you have sole responsibility for your
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investment decisions and that you should not rely solely on any information provided through the Sites or
Service with regard to any investment decisions you make.

The information and material provided on the Sites or Services is not to be construed as an o er to buy or
sell, or the solicitation of an o er to buy or sell, any security, financial product or instrument, or to participate
in any particular trading strategy.

We use reasonable e orts to maintain the Sites or Services, but we are not responsible for any defects or
failures associated with the Sites or Services, any content posted on the Sites or Services, any widgets or
similar applications use, or any damages (including lost profits or other consequential damages, even if we
have been informed of the same) that may result from any such defects or failures. The Sites or Services may
be inaccessible or inoperable for any reason, including, without limitation: (a) equipment malfunctions, (b)
periodic maintenance procedures or repairs which we may undertake from time to time, or (c) causes beyond
the control of TopstepTrader or which are not foreseeable by TopstepTrader.

Our Sites or Services include content provided by third parties, including materials provided by other users,
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statements and/or opinions expressed in any such materials, and all articles and responses to questions and
other content, other than the content provided by us, are solely the opinions and the responsibility of the
person or entity providing those materials. Any such materials do not necessarily reflect our opinion and have
not been verified by us. The information in such publications may become outdated, and we have no
obligation to update it. We are not responsible or liable to you or any third party for the content or accuracy
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If any of our sites contain links to other sites and resources provided by third parties, those links are provided
for your convenience only. This includes links contained in advertisements, including banner advertisements
and sponsored links. We have no control over the contents of those sites or resources, and accept no
responsibility for them or for any loss or damage that may arise from your use of them. If you decide to access
any of the third party websites linked to our Sites or Services, you do so entirely at your own risk and subject
to the terms of use for such websites.

TopstepTrader does not promote any financial instruments on the Sites or Services. TopstepTrader does not
receive any compensation from companies whose financial instruments appear on the Sites or Services and
TopstepTrader has no financial interest in the outcome of any trades mentioned in the Sites or Services.

We take no responsibility and assume no liability for any User Content. We have no obligation to pre-screen
or monitor User Content. We reserve the right to delete or edit User Content, in whole or in part, in our sole
discretion at any time and without notice.

5. Commodity Futures Trading Commission Disclaimer
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CFTC RULE 4.41 – ALL HYPOTHETICAL OR SIMULATED PERFORMANCE RESULTS HAVE CERTAIN LIMITATIONS.
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FACTORS, SUCH AS LACK OF LIQUIDITY. SIMULATED OR HYPOTHETICAL TRADING PROGRAMS IN GENERAL
ARE ALSO SUBJECT TO THE FACT THAT THEY ARE DESIGNED WITH THE BENEFIT OF HINDSIGHT. NO
REPRESENTATION IS BEING MADE THAT ANY ACCOUNT WILL OR IS LIKELY TO ACHIEVE PROFITS OR LOSSES
SIMILAR TO THOSE BEING SHOWN.

6. Third Party Services

Our Sites or Services may refer to products or services that are not under the control of or maintained by
TopstepTrader (“Third Party Services”). You are responsible for performing your own due diligence and
evaluating whether any Third Party Services are appropriate for you. You agree that TopstepTrader is not
responsible for any injury, harm, damages, or negative experience you may encounter by accessing or using
such Third Party Services. If you access, visit, or use any Third Party Services referred to on our Sites or
Services, you do so at your own risk.

7. Disclaimer of Warranties

ALL INFORMATION AND OTHER MATERIALS PRESENT ON THE SITE (THE “CONTENT”), INCLUDING
TOPSTEPTRADER’S PRODUCTS AND SERVICES, TEXT, IMAGES, PHOTOS, TRADING IDEAS, OPINIONS, RUMORS,
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THE SITES OR SERVICES.
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OR A LINKED WEB SITE IS UPDATED OR COMPLETE. TOPSTEPTRADER HAS NO OBLIGATION TO UPDATE ANY
CONTENT ON OUR SITE AND MAY CHANGE OR IMPROVE OUR SITE AT ANY TIME WITHOUT NOTICE.

WE DO NOT ENDORSE AND ARE NOT RESPONSIBLE FOR THE ACCURACY OR RELIABILITY OF ANY OPINION,
ADVICE OR STATEMENT MADE THROUGH OUR SITES OR SERVICES BY ANY PARTY OTHER THAN US.

8. Limitation of Liabilities

IN NO EVENT WILL TOPSTEPTRADER, ITS PARENTS, SUBSIDIARIES, PARTNERS, OR AFFILIATES, OR THE
RESPECTIVE SERVICE PROVIDERS, EMPLOYEES, AGENTS, OFFICERS AND DIRECTORS OF EACH BE LIABLE TO
YOU FOR ANY INCIDENTAL, SPECIAL, PUNITIVE, EXEMPLARY, OR CONSEQUENTIAL DAMAGES, INCLUDING ANY
LOST PROFITS OR LOST OPPORTUNITY, EVEN IF YOU HAVE NOTIFIED US ABOUT THE POSSIBILITY OF SUCH
DAMAGES, OR FOR ANY CLAIMS BY ANY THIRD PARTIES, ARISING OUT OF OR IN ANY WAY RELATED TO THE
ACCESS, USE OR CONTENT OF OUR SITES OR SERVICES OR A LINKED WEB SITE WHETHER SUCH CLAIMS ARE
BROUGHT UNDER ANY THEORY OF LAW OR EQUITY.

IN NO EVENT WILL OUR LIABILITY FOR ANY CLAIM OF ANY KIND, WHETHER BASED IN CONTRACT, WARRANTY,
TORT, STRICT LIABILITY OR OTHERWISE, FOR ANY LOSSES OR DAMAGES ARISING OUT OF, CONNECTED WITH,
OR RESULTING FROM, THESE TERMS OR THE PERFORMANCE OR BREACH THEREOF, OR ANY PRODUCT OR
SERVICE OR THE USE OR PERFORMANCE THEREOF, EXCEED THE GREATER OF (A) THE AMOUNT PAID BY YOU
TO TOPSTEPTRADER IN THE IMMEDIATELY PRECEDING MONTH FOR TOPSTEPTRADER’S PRODUCTS OR
SERVICES AND (B) $100.

THIS LIMITATION ON LIABILITY INCLUDES TRANSMISSION OF VIRUSES THAT INFECTS YOUR EQUIPMENT,
MECHANICAL OR ELECTRONIC EQUIPMENT FAILURE, FAILURE OF COMMUNICATION LINES, TELEPHONE OR
OTHER INTERCONNECTS, UNAUTHORIZED ACCESS, THEFT, OPERATIONAL ERRORS, OR ANY FORCE MAJEURE.

9. Purchases; Credit Card and Other Financial Information
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TopstepTrader allows Users to place orders for subscriptions or other services through the Sites or Services or
through a third-party a iliate (“Orders”).

Upon placing an Order, you shall pay to Company the purchase price as set forth in the “Order Summary”
page or similar ordering mechanism. Company or its third-party a iliates may utilize the services of certain
third-party payment processors to process payments of credit cards and other accepted methods of
payment. Your purchase is subject to any additional terms and conditions imposed by such third-party
payment processors. The purchase price and any applicable fees or taxes shall be applied to your chosen
method of payment upon submission of your Order.

Upon the purchase of an Order or other service rendered by TopstepTrader through the Sites or Services, you
acknowledge that the TopstepTrader will provide availability and access to the particular service requested.
Your participation in, or failure to use such purchased service does not entitle you to a refund.

Prices and availability of products are subject to change without notice. Errors will be corrected where
discovered, and Company reserves the right to revoke any stated o er and to correct any errors, inaccuracies
or omissions including a er an Order has been submitted and whether or not the Order has been confirmed
and your payment method accepted and charged. In the event your payment method has been accepted and
charged, Company will issue you the appropriate credit within a reasonable time a er your Order has been
revoked.

TopstepTrader accepts payments via credit and debit card through our Sites or Services. Certain credit and
debit card information, including your card information, phone number, address, name and email address
(“Credit Card Information”) will be encrypted and received via a secure page. You represent and warrant that
you are an authorized signatory of the credit or debit card or other method of payment that you provide to
TopstepTrader or its third-party payment processor to pay any fees or taxes related to your purchases of
products or services through our Sites or Services.

We use industry standard technology and commercially reasonable measures to protect Credit Card
Information from misuse. TopstepTrader may utilize the services of certain third-party payment processors to
process payments of credit cards and other accepted methods of payment.

If you are directed to a third-party website to make purchases, your purchase will be governed by the terms of
such third party website. If you desire to supply Credit Card Information, Identity Information or financial
information to any third party service provider or to any Linked Web Site, you do so at your own risk and
discretion. We strongly recommend you review the terms and conditions and privacy policy of any third party
before providing such information.

10. Linking to Our Sites
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You may link to our Sites or Services, provided you do so in a way that is fair, in compliance with all applicable
laws, rules and regulations, and does not damage our reputation; provided that you shall not establish a link
in such a way as to suggest any form of association, approval or endorsement on our part without our express
written consent.

11. Restricted Sites and Passwords/User Registration

Certain functionality of the Sites or Services are limited to Users who have registered an account for the
applicable services. Such Users will have a unique User ID and password combination (“User Credentials”)
and will have provided Identity Information (collectively, a “User Account”). You represent and warrant that all
account information is truthful and accurate and you will update such information to ensure its accuracy. You
represent and warrant that you have provided a valid email address at the time of registration. You agree that
all information you provide to register with our Sites or Services or otherwise, including through the use of
any interactive features on our Sites or Services, is governed by our Privacy Policy, and you consent to all
actions we take with respect to your information consistent with our Privacy Policy. You may update your
personal information through our Sites or Services or by contacting us via the contact information provided
above.

Users are responsible for the confidentiality of User Credentials, and shall be responsible and liable for access
to or use of the Sites or Services by such User or any other person or entity using such User Credentials
(whether or not such access has been authorized). You agree that access to the User Account will be limited
to the User which subscribed under such account. You agree to immediately notify TopstepTrader if you learn
of or have reason to suspect any unauthorized use of your account or any other breach of security.

You acknowledge and agree that TopstepTrader is authorized to act on all instructions received through your
User Account, and that TopstepTrader may, but is not obligated to, deny access or block any transaction
made through use of your User Account without prior notice if we believe that such User Account is being
used by someone other than its registered User, or for any other reason.

TopstepTrader reserves the right to refuse to grant particular User Credentials to any individual for any
reason, including, without limitation, if such User Credentials impersonates someone else, is protected by
trademark or other proprietary rights law, or is vulgar or o ensive. TopstepTrader shall not be liable for any
loss or damage arising from a User’s failure to comply with this Section.

12. Submitting Content or Comments on Our Sites

If you submit blogs, comments, or other content intended for public display on any of our Sites or Services
(“User Content”), you agree to abide by these Terms.
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You shall not submit User Content on our Sites or Services that: is illegal, indecent, profane (either directly or
indirectly through partially obscured words, letters, phrases, terminology or the like), threatening,
defamatory, derogatory, counter to TopstepTrader’s Privacy Policy or otherwise injurious to TopstepTrader or
any third parties, constitute commercial solicitation or advertising (except where pre-approved in writing by
TopstepTrader), or consist primarily of an unsolicited electronic mass mailing.

User Content shall not be abusive or harassing to any person. You may not submit materials that are or
purport to be the personally identifiable information about others, such as full name, postal address, email
address, telephone number or any other personal attribute which would constitute an invasion of privacy.
User Content shall not be obscene, objectionable, o ensive, tortious, deceptive, fraudulent, or invasive of
another’s privacy or publicity rights.

TopstepTrader does not guarantee that User Content will remain private, even if such User Content is entered
into a password-protected section of the Sites or Services. Accordingly, you should not provide User Content
that you want protected from others.

User Content shall not contain a so ware virus, worm, spyware, Trojan horse or other computer code, file or
program designed to interrupt, impair, destroy or limit the functionality of any computer so ware or
hardware or telecommunications equipment.

User Content shall not infringe in any manner on the copyright, trademark or other intellectual property
rights of any person or entity, or that contain privileged, confidential, proprietary or trade-secret information
of any individual or entity, or that may violate the legal right of any person or entity in any jurisdiction or
locale.

If you wish to submit materials to any of our Sites or Services, you are prohibited from impersonating any
other individual or entity, or otherwise misleading the same as to the origin of the comments.

You agree to disclose any conflict of interest, ownership interest, business, employment or other financial
relationship you have with any company or financial instruments named in any User Content. You agree not
to submit User Content with the intent to increase or decrease a financial instrument’s price and sell or
purchase such financial instrument as a result of such increase or decrease. You agree to disclose any intent
to purchase or sell a stock within three trading days of submitting User Content that discusses that stock.

You shall not submit User Content that violates any local, state, national or international law, including but
not limited to regulations of the U.S. Securities and Exchange Commission and the U.S. Commodity Futures
Trading Commission or other securities laws and the rules of any securities exchange. You agree that User
Content will not constitute illegal activity, give rise to civil liability, or violate the contractual, personal,
intellectual property or other rights of any other party.
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13. License

By submitting User Content, you grant TopstepTrader an unrestricted, worldwide, non-exclusive, irrevocable,
perpetual, fully paid-up and royalty-free right and license, in any form or format, in whole or in part, to host,
store, maintain, use, reproduce, distribute, display, publish, modify, prepare derivative works of, and
otherwise exploit all or any portion of such User Content on the Sites or Services and on any other websites,
channels, or distribution platforms, for any purpose whatsoever, without accounting, notification, credit or
other obligation to you, and the right to license and sublicense and authorize others to exercise any of the
rights granted hereunder to TopstepTrader, in its sole discretion. All rights, licenses and privileges herein
described are granted to TopstepTrader immediately upon submission of User Content and shall continue
perpetually and indefinitely.

14. Contests

From time to time, TopstepTrader may o er games and contests through its Sites or Services (individually, a
“Contest” and collectively, the “Contests”). Contests shall be supplemented by any o icial rules associated
with a particular Contest (the “O icial Rules”).

    a. Entry. Contests may be free to enter or may have an entry fee. All payments for Contests are final and
    no refunds will be issued. All entries to the Contests by a User Account will be deemed to have been
    submitted by the User whose User Account submitted such entry.

    b. Conditions of Participation. Only such Users with User Accounts may participate in the Contests. By
    entering a Contest, you agree to be bound by all O icial Rules and any decisions of TopstepTrader, which
    shall be final and binding in all respects. TopstepTrader may (i) disqualify any entrant from a Contest or
    (ii) refuse to award benefits or prizes or require the return of any prizes, if TopstepTrader determines, in
    its sole discretion, that an entrant has engaged in conduct that the Company deems improper, unfair or
    otherwise adverse to the operation of the Contest, violates the O icial Rules, or is in any way detrimental
    to other entrants. TopstepTrader reserves the right to deny any contestant the ability to participate in
    Contests for any reason whatsoever.

    If for any reason a Contest is not capable of running as originally planned, or if a Contest, computer
    application, or website associated therewith (or any portion thereof) becomes corrupted or does not
    allow the proper entry to a Contest in accordance with these Terms or the O icial Rules, or if infection by
    a computer (or similar) virus, bug, tampering, unauthorized intervention, actions by entrants, fraud,
    technical failures, or any other causes of any kind, in the sole opinion of TopstepTrader corrupts or
    a ects the administration, security, fairness, integrity, or proper conduct of a Contest, TopstepTrader
    reserves the right, at its sole discretion, to disqualify any individual implicated in such action and/or to
    cancel, terminate, extend, modify or suspend the Contest, and select the winner(s) from all eligible
    entries received. If such cancellation, termination, modification or suspension occurs, notification will be
    posted on the Sites or Services.
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To be eligible to enter any contest or receive any prize, a User may be required to provide TopstepTrader
with additional documentation and/or information to verify the identity of the User, and to provide proof
that all eligibility requirements are met. In the event of a dispute as to the identity or eligibility of User,
TopstepTrader will, in its sole and absolute discretion, utilize certain information collected by
TopstepTrader to assist in verifying the identity and/or eligibility of such User.

c. Publicity/Privacy Release. Where legal, both entrants and winner consent to the use of their name,
voice, likeness and photograph in and in connection with the development, production, distribution
and/or exploitation of any Contest or the Sites or Services. Winners agree that from the date of
notification by TopstepTrader of their status as a potential winner and continuing until such time when
TopstepTrader informs them that they no longer need to do so that they will make themselves available
to TopstepTrader for publicity, advertising, and promotion activities.

d. Contest of Skill. Contests o ered through the Sites or Services are contests of skill. Winners are
determined by the objective criteria described in the O icial Rules, deadlines, scoring and any other
applicable documentation associated with the Contest. From all entries received for each Contest,
winners are determined by the individuals who use their skill and knowledge of relevant trading
information and trading concepts to accumulate the most points according to the corresponding scoring
rules. The Sites or Services may not be used for any form of illicit gambling.

e. Results. Contest results and prize calculations are based on the final statistics and scoring results at
the completion of each individual Contest. Once Contest results are reviewed and graded, prizes will be
awarded. The scoring results of a Contest will not be changed regardless of any o icial statistics or
adjustments made at later times or dates, except in TopstepTrader’s sole discretion.

f. Payment and Withdrawal of Prizes. Winners will be posted on the TopstepTrader website. Entrants
may be required to complete an a idavit of eligibility and a liability or publicity release and appropriate
tax forms. Entrants may also be required to provide identification, including but not limited to a Driver’s
License, proof of residence and/or any information relating to payment or deposit accounts as
reasonably requested by TopstepTrader in order to complete the withdrawal of prizes. TopstepTrader
may, in its sole discretion, require a User to execute a release of any claims as a condition to being
awarded any prize or receiving any payout. Failure to comply with this requirement may result in
disqualification and forfeiture of any prizes. Disqualification or forfeiture of any prizes may also occur if it
is determined any such entrant did not comply with these Terms in any manner.

g. Taxes. All taxes associated with the receipt of any prize are the sole responsibility of the winner. In the
event that the awarding of any prizes to winners of Contests is challenged by any legal authority,
TopstepTrader reserves the right in its sole discretion to determine whether or not to award such prizes.

h. Substitution of Prizes. No substitution or transfer of prize is permitted, except that TopstepTrader
reserves the right to substitute a prize of equal value or greater if the advertised prize is unavailable. All
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     prizes are awarded “as is” and without warranty of any kind, express or implied (including, without
     limitation, any implied warranty of merchantability for a particular purpose).

15. Intellectual Property, Trademarks and Copyrights

TopstepTrader Sites or Services and their entire contents, features, and functionality (including, all
information, so ware, text, displays, images, video and audio, and the design, selection and arrangement
thereof), are owned by TopstepTrader, its licensors or other providers of such material and are protected by
United States and international copyright, trademark, patent, trade secret, and other intellectual property or
proprietary rights laws and treaties. You shall not challenge the ownership or rights in the content on
TopstepTrader Sites or Services or any component thereof.

You are granted a nonexclusive, nontransferable, limited and revocable right to access, use, display and
navigate our Sites or Services solely for your personal, non-commercial and non-public use. You shall not
reproduce, distribute, modify, create derivative works of, publicly display, publicly perform, republish,
download, store or transmit any of our material, except for your personal, non-commercial and non-public
use. You shall not access or use for any commercial purposes any part of our Sites or Services.

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site or display our site in frames (or any of the Content via in-line links) without prior written permission from
TopstepTrader (“co-brand” means your display of any of the Intellectual Property, or your taking of other
means of attribution or identification of TopstepTrader in such a manner reasonably likely to give a third party
the impression that you or the third party has the right to display, publish or distribute our Sites or Services or
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any Content). You agree to cooperate with TopstepTrader in causing any unauthorized co-branding, framing
or linking to immediately cease. You may not remove, modify or alter any copyright, trademark or patent
notice from any product delivered by us. You agree not to undertake any action that will interfere with or
diminish our right, title or interest in our Intellectual Property.

16. Digital Millennium Copyright Act

The following policy has been adopted pursuant to the Digital Millennium Copyright Act (found at
http://lcweb.loc.gov/copyright/legislation/dmca.pdf):

The address of the Designated Agent to Receive Notification of Claimed Infringement (“Designated Agent”)
can be found above under Section 1. If you believe that content or material provided through the Sites or
Services infringes a copyright, please send a notice containing the following information to the Designated
Agent:

    (i) a physical or electronic signature of a person authorized to act on behalf of the owner of an exclusive
    right that is allegedly infringed;

    (ii) identification of the copyrighted work claimed to have been infringed, or, if multiple copyrighted
    works at a single online site are covered by a single notification, a representative list of such works at that
    site;

    (iii) identification of the material that is claimed to be infringing or the subject of infringing activity and
    that is to be removed or access to which is to be disabled, and information reasonably su icient to
    permit us to locate the material;

    (iv) information reasonably su icient to permit us to contact you, such as an address, telephone
    number, and, if available, an email address at which you may be contacted;

    (v) a statement that you have a good faith belief that use of the material in the manner complained of is
    not authorized by the copyright owner, its agent, or the law; and

    (vi) a statement that the information in the notification is accurate, and under penalty of perjury, that the
    complaining party is authorized to act on behalf of the owner of an exclusive right that is allegedly
    infringed.

17. Termination

Users may terminate receipt of any free service publications at any time by sending TopstepTrader a request
for removal from the relevant distribution list. All free service publication emails will include a link allowing a
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User to unsubscribe. If you wish to terminate receipt of such publications, please use the link on the attached
email or see the contact information provided above.

TopstepTrader reserves the right to terminate your access to any of the TopstepTrader Sites or Services at any
time at its sole discretion. Such termination may result from a violation of the Terms or other referenced
agreements, unauthorized use or reproduction of any publication or information, or any other reason
determined in TopstepTrader’s sole discretion. If such access is terminated, you agree you will not attempt to
establish a new User Account under any name, real or assumed. All provision of these Terms shall survive
termination, including, without limitation, ownership provisions, warranty disclaimers, indemnities and
limitations of liability.

18. Jurisdiction and Enforceability

These Terms shall be governed by and construed in accordance with the laws of the State of Illinois and the
United States of America, without giving e ect to any principles of conflicts of law. You irrevocably consent to
the exclusive jurisdiction of the courts located in the State of Illinois in connection with any action arising out
of or related to these Terms or their subject matter. You waive any objection based on lack of personal
jurisdiction, place of residence, improper venue or forum non conveniens in any such action.

19. Force Majeure

We will not be liable or responsible for any failure to perform, or delay in performance of, any of our
obligations under these Terms that is caused by a Force Majeure Event. A “Force Majeure Event” means any
act or event beyond our reasonable control, including strikes, lock-outs or other industrial action by third
parties, civil commotion, riot, invasion, terrorist attack or threat of terrorist attack, war (whether declared or
not) or threat or preparation for war, fire, explosion, storm, flood, earthquake, subsidence, epidemic or other
natural disaster, or failure of public or private telecommunications networks or impossibility of the use of
railways, shipping, aircra , motor transport or other means of public or private transport. If a Force Majeure
Event takes place that a ects the performance of our obligations under these Terms we will contact you as
soon as reasonably possible to notify you. Our obligations under these Terms will be suspended and the time
for performance of our obligations will be extended for the duration of a Force Majeure Event.

20. Waiver of Class Action Rights

IN ANY DISPUTE, NEITHER YOU NOR ANY OTHER PERSON SHALL BE ENTITLED TO JOIN OR CONSOLIDATE
CLAIMS BY OR AGAINST OTHER AFFILIATES OR PERSONS, OR ARBITRATE ANY CLAIM AS A REPRESENTATIVE
OR CLASS ACTION OR IN A PRIVATE ATTORNEY GENERAL CAPACITY. YOU ACKNOWLEDGE THAT YOU ARE
GIVING UP YOUR RIGHTS TO PARTICIPATE IN A CLASS ACTION OR REPRESENTATIVE ACTION WITH RESPECT
TO ANY SUCH CLAIM.
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21. Indemnification

You agree to indemnify, defend, and hold TopstepTrader, its parents, subsidiaries, a iliates, any related
companies, suppliers, licensors and partners, and the o icers, directors, employees, agents and
representatives of each (collectively, the “TopstepTrader Parties”) harmless, including costs, liabilities and
legal fees, from any claim or demand made by any third party arising out of or relating to (i) your access to or
use of our Sites or Services, (ii) your violation of the Terms, (iii) the infringement by you, or any third party
using your account, of any intellectual property or other right of any person or entity, (iv) any funding of your
account and any payment methods used. TopstepTrader reserves the right, at your expense, to assume the
exclusive defense and control of any matter for which you are required to indemnify us and you agree to
cooperate with our defense of these claims. You agree not to settle any such matter without the prior written
consent of TopstepTrader. TopstepTrader will use reasonable e orts to notify you of any such claim, action or
proceeding upon becoming aware of it.

22. Other Prohibited Uses

You are solely responsible for any and all acts and omissions that occur under your User Account, and you
agree not to engage in unacceptable use of the Sites or Services or any User Content including:

           Posting, storing or disseminating any unsolicited or unauthorized advertising, promotional
           materials, junk mail, spam, chain letters or other fraudulent schemes, or any other form of
           solicitation
           Using any manual or automated so ware, devices or other processes to “crawl” or “spider” any
           web pages contained in the Sites or Services
           Using the Sites or Services to gain competitive intelligence about TopstepTrader or the Sites or
           Services to compete with TopstepTrader or its a iliates
           Harvesting or otherwise collecting any information about other users, including, without
           limitation, email addresses or other contact information

23. Other Important Terms

These Terms are in addition to any other agreements between you and TopstepTrader.

Nothing in these Terms shall create or be deemed to create a partnership, agency, trust arrangement,
fiduciary relationship or joint venture between you and TopstepTrader. Neither you nor TopstepTrader shall
have any right, power or authority to act or create any obligation, express or implied, on behalf of the other
party.

You agree that breach of the provisions of this Agreement would cause irreparable harm and significant injury
to TopstepTrader which would be both di icult to ascertain and which would not be compensable by
damages alone. As such, you agree that TopstepTrader has the right to enforce the provisions of this
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 Agreement by injunction (without necessity of posting bond), specific performance or other equitable relief
 without prejudice to any other rights and remedies TopstepTrader may have for your breach of this
 Agreement.

 We reserve the right at any time in our sole discretion to: modify, suspend or discontinue our Sites or Services
 or any service, content, feature or product o ered through our Sites or Services, with or without notice;
 charge fees in connection with the use of our Sites or Services; modify and/or waive any fees charged in
 connection with our Sites or Services; and/or o er opportunities to some or all users of our Sites or Services.
 You agree that we shall not be liable to you or to any third party for any modification, suspension or
 discontinuance of our Sites or Services, or any service, content, feature or product o ered through our Sites
 or Services.

 Each of the paragraphs of these Terms operates separately. If any court or relevant authority decides that any
 of them are unlawful or unenforceable, the remaining paragraphs will remain in full force and e ect.

 If we fail to insist that you perform any of your obligations under these Terms, or if we do not enforce our
 rights against you, or if we delay in doing so, that will not mean that we have waived our rights against you
 and will not mean that you do not have to comply with those obligations. If we do waive a default by you, we
 will only do so in writing, and that will not mean that we will automatically waive any later default by you.

 We may terminate these Terms at any time without notice, and accordingly may deny you access to our Sites
 or Services, if in our sole judgment you fail to comply with any term or provision of these Terms. The
 obligations and liabilities of the parties incurred prior to the termination date shall survive the termination of
 these Terms for all purposes.

 24. Feedback

 TopstepTrader welcomes your comments, feedback, information or other materials regarding the Sites or
 Services (collectively, “Feedback”). If you submit Feedback to TopstepTrader, please note that your Feedback
 shall become the property of the Company, and you hereby irrevocably assign to TopstepTrader all right, title
 and interest in and to the Feedback and all copyrights and other intellectual property rights embodied in
 such Feedback on a worldwide basis.

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actual trading. Also, because the trades have not actually been executed, the results may have under-or-over compensated for the impact, if any, of certain market
factors, such as lack of liquidity. Simulated trading programs in general are also subject to the fact that they are designed with the bene t of hindsight. No
representation is being made that any account will or is likely to achieve pro t or losses similar to those shown.
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